                 Case 3:99-cr-00085-EBB                      Document 1769                     Filed 01/13/15              Page 1 of 1

AO 247 (Rev . IIIli) Order Regarding Moti on fo r Sentence Reduction Pursuant to 18 U.S.C.§ 3582(c)(2)              Page I of2 (Page 2 Not for Public Disclosure)


                                ~- ~-~}JNIT~D STATES DISTRICT COURT
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                    .S ~~.~I 13 f\1'\ 11              District of Connecticut   --
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                    United
                     ... . . States of Am er:ica
                                        V.                                                             l' ('                           ·_·. ,·c
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                                                                              )
                JIMMY AUGUSTO RESTREPO                                        )      Case No :      3:99CR8~@BB)

                                                                              )       USM No:       54289-053
Date of Original Judgment:                           10/26/2001               )
                                                                              )
Date of Previous Amended Judgment:                   02/02/2006
(Use Date of Last Amended Judgment if Any)                                            Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant 0 the Director oftl1e Burea u of Priso ns X the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of impri sonment 'ijnposedbased on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commiss ion pursuant to 28 U.S .C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are app li cable,

IT IS ORDERED that th e motion is:
          0 DENI ED.         X GRANTED and the defendant ' s prev io usly imposed sentence of imprisonm ent (as reflected in
the /as/ju dgment issued) of         293               moi~th :{ is reduced to             235 MONTHS
                                             (Comp lete Parts I and II of Page 2 when motion is gran ted)




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Except as otherwise provided, all provi sions of the judgment dated                          I 0/26/2 00 I              shall remain in effect.
IT IS SO ORDERED.
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Order Date :                                                                                           /s/
                                                                                                             Judge's signature v   '


Effective Date:     Nov ~mbe r _I, 2015                                                       ELLEN BREE BURNS S.U.S.D.J.
                    (tf different from order date)                                                      Printed name and title
